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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA

12
      JOHN HUEBNER and IRMIN LANGTON, on                 Case No. 3:14-cv-04735-VC
13    behalf of themselves and other similarly situated,
                                                         [Assigned to the Honorable Vince
14       Plaintiffs,                                     Chhabria]

15    vs.                                               DECLARATION OF DMYTRO
                                                        LOBASHEVSKYI
16    RADARIS, LLC, a Massachusetts limited
      liability company;
17    RADARIS AMERICA, INC., a Delaware
      corporation; and
18    EDGAR LOPIN, an individual,

19          Defendants.

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                             Lobashevskyi Declaration – 3:14-cv-04735-VC
                 Case 3:14-cv-04735-VC Document 61-2 Filed 04/02/18 Page 2 of 7




 1                                 Declaration of Dmytro Lobashevskyi

 2   I, Dmytro Lobashevskyi, declare as follows:

 3          1.       My name is Dmytro Lobashevskyi. I am over the age of 18. I am the Chief

 4   Information Officer of Bitseller Expert Limited (“Bitseller”). I am also the part-time Information

 5   Technology manager of Accuracy Consulting Ltd. (“Accuracy”). I am familiar with the facts

 6   herein and make this declaration from my own personal knowledge.

 7          2.       I am the person best suited to represent both Bitseller and Accuracy at the hearing

 8   on their Emergency Motion for Relief from Default Judgment filed in the above captioned case.

 9          3.       I live in Odessa, Ukraine. A copy of my current passport is attached hereto as

10   Exhibit 1.

11          4.       Although I have previously held a visa to visit the United States, I do not have a

12   current visa. In my experience, it will take me at least 3-4 weeks to obtain a visa to visit the

13   United States, but there is no guaranty when and if at all the US visa will be issued. A copy of

14   my expired US visa is attached hereto as Exhibit 2.

15          5.       Accordingly, I will not be able to personally attend the hearing in the above

16   captioned case currently scheduled for April 5, 2018, nor would I be able to attend any hearing in

17   person until such time as I receive a visa to visit the United States.

18          6.       If the Court so wishes, I can telephonically appear for any hearing that the Court

19   may set on this matter.

20          7.       If the Court will continue the hearing to permit me time to obtain a visa, I will

21   apply for a visa so as to appear at the hearing in person on behalf of both Bitseller and Accuracy.

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                                                    2
                               Lobashevskyi Declaration – 3:14-cv-04735-VC
      Case 3:14-cv-04735-VC Document 61-2 Filed 04/02/18 Page 3 of 7




          l declare undet p�nalt:y ofpctjury that the foregoing is true and correct.

          Executed 0:1 Ap:·il 2, 2018 at Odessa� Ukraine.




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                            Lobashevsk) Declaration - 3: I 4-cv-04735-VC
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                      Exhibit
                        1
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                      Exhibit
                        2
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